           Case 1:18-cr-00246-ADA-BAM Document 76 Filed 11/06/19 Page 1 of 4


 1 McGREGOR W. SCOTT
   United States Attorney
 2 ANGELA L. SCOTT
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:18-CR-00246-DAD-BAM
12                                 Plaintiff,          STIPULATION REGARDING EXCLUDABLE
                                                       TIME PERIODS UNDER SPEEDY TRIAL ACT
13                          v.                         FOR DEFENDANTS RUBEN CORTEZ ROCHA
                                                       AND RICARDO ZEPEDA-NAVARRO; ORDER
14   RUBEN CORTEZ-ROCHA,
     JOSE LOZANO,                                      CURRENT DATE: November 12, 2019
15    aka “Junior”                                     CURRENT TIME: 1:00 p.m.
     SADOL DIAZ-BELTRAN, and                           COURT: Hon. Barbara A. McAuliffe
16   RICARDO ZEPEDA-NAVARRO,
                                                       PROPOSED DATE: January 15, 2020
17                                Defendants.
                                                       PROPOSED TIME: 10:00 p.m.
18                                                     COURT: Hon. Dale A. Drozd

19
                                                   STIPULATION
20
            Plaintiff United States of America, by and through its counsel of record, and defendants RUBEN
21
     CORTEZ-ROCHA (“CORTEZ-ROCHA”), by and through his counsel of record, Victor Sherman and
22
     RICARDO ZEPEDA-NAVARRO (“ZEPEDA-NAVARRO”), by and through his counsel of record,
23
     Daniel Fester, hereby stipulate as follows:
24
            1.      On December 3, 2018, defendants LOZANO and ZEPEDA-NAVARRO made their
25
     initial appearances and were arraigned on the indictment. Time was excluded under the Speedy Trial
26
     Act until their detention hearing on December 5, 2018. Doc. 12.
27
            2.      At a detention hearing on December 5, 2018, defendant ZEPEDA-NAVARRO was
28

                                                        1
30
            Case 1:18-cr-00246-ADA-BAM Document 76 Filed 11/06/19 Page 2 of 4


 1 ordered detained. The Court set a status conference for February 11, 2019, and excluded the time from

 2 December 5, 2018, through February 11, 2019 under the Speedy Trial Act. Doc. 20.

 3          3.      At a detention hearing on December 5, 2018, defendant LOZANO was released on

 4 conditions. The Court set a status conference for February 11, 2019, and excluded the time from

 5 December 5, 2018, through February 11, 2019 under the Speedy Trial Act. Doc.23.

 6          4.      On December 10, 2018, defendant CORTEZ-ROCHA was arraigned and released on

 7 conditions. The Court set a status conference for February 11, 2019, and excluded the time from

 8 December 10, 2018, through February 11, 2019 under the Speedy Trial Act. Doc. 28.

 9          5.      On December 10, 2018, defendant DIAZ-BELTRAN was arraigned and released on

10 conditions. The Court set a status conference for February 11, 2019, and excluded the time from

11 December 10, 2018, through February 11, 2019 under the Speedy Trial Act. Doc. 29.

12          6.      At the status conference on February 11, 2019, the Court set a further status conference

13 on May 13, 2019, and excluded time from February 11, 2019, through May 13, 2019. Doc. 50.

14          7.      On May 9, 2019, the Court granted the parties request to continue the status conference to

15 August 26, 2019 at 1:00 pm, and excluded time from May 13, 2019 to August 26, 2019, inclusive, under

16 the Speedy Trial Act. Doc. 60.

17          8.      On July 1, 2019, Daniel Fester filed a notice of attorney appearance as attorney of record

18 for defendant ZEPEDA-NAVARRO. Doc. 64.

19          9.      At the status conference on August 26, 2019, the Court set a further status conference on

20 November 12, 2019, and excluded time from August 26, 2019, through November 12, 2019. Doc. 70.
21          10.     By this stipulation, the parties now move to vacate the November 12, 2019 status

22 conference, set a change-of-plea hearing for January 15, 2020, and to exclude time between November

23 12, 2019 and January 15, 2020, inclusive, under the Speedy Trial Act, 18 U.S.C.§ 3161(h)(7)(A), B(i)

24 and (iv).

25          11.     Defendants CORTEZ-ROCHA and ZEPEDA-NAVARRO have reached plea agreements

26 with the government, which have been filed in this case. If, however, defendants ultimately do not enter
27 their guilty pleas and decide to proceed to trial, the parties agree and stipulate, and request that the Court

28 find the following:

                                                          2
30
           Case 1:18-cr-00246-ADA-BAM Document 76 Filed 11/06/19 Page 3 of 4


 1                  a)     The government has represented that the discovery associated with this case

 2          includes over 100 pages of reports and photographs, as well as over 40 audio recordings, many

 3          of which are in a foreign language. This discovery has been produced directly to counsel.

 4                  b)     Counsel for defendants desire additional time to review the current charges, to

 5          review the discovery, to conduct research and investigation related to the charges and potential

 6          pretrial motions, and to consult with their clients. Notably, Mr. Fester only recently joined the

 7          case.

 8                  c)     Counsel for defendants have various conflicts in other cases between now and the

 9          proposed January 15, 2020 hearing that would not reasonably permit them to try this case any

10          time between now and at least January 15, 2020.

11                  d)     Counsel for defendants believe that failure to grant the above-requested

12          continuance would deny them the reasonable time necessary for effective preparation, taking into

13          account the exercise of due diligence.

14                  e)     Based on the above-stated findings, the ends of justice served by continuing the

15          case as requested outweigh the interest of the public and the defendants in a trial within the

16          original date prescribed by the Speedy Trial Act.

17                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

18          et seq., within which trial must commence, the time period of November 12, 2019 to January 15,

19          2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(i) and (iv)

20          because it results from a continuance granted by the Court at defendants’ request on the basis of

21          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

22          of the public and the defendants in a speedy trial.

23          12.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

24 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

25 must commence.

26          IT IS SO STIPULATED.

27

28

                                                          3
30
            Case 1:18-cr-00246-ADA-BAM Document 76 Filed 11/06/19 Page 4 of 4

      Dated: November 5, 2019                                 McGREGOR W. SCOTT
 1                                                            United States Attorney
 2
                                                              /s/ ANGELA L. SCOTT
 3                                                            ANGELA L. SCOTT
                                                              Assistant United States Attorney
 4

 5

 6
     Dated: November 5, 2019                               __ s/ per email authorization______
 7                                                         VICTOR SHERMAN
                                                           Counsel for Defendant
 8                                                         RUBEN CORTEZ-ROCHA
 9
10

11
     Dated: November 5, 2019                               __ s/ per email authorization______
12
                                                           DANIEL FESTER
13                                                         Counsel for Defendant
                                                           RICARDO ZEPEDA-NAVARRO
14

15

16                                                    ORDER

17          Pursuant to the parties’ stipulation and good cause shown, IT IS HEREBY ORDERED that the

18 status conference, currently set for November 12, 2019, is hereby vacated as to defendants RUBEN

19 CORTEZ-ROCHA and RICARDO ZEPEDA NAVARRO. It is further ORDERED that a change-of-

20 plea hearing be set for these defendants on January 15, 2020 at 10:00 a.m. before the Honorable Dale A.
21 Drozd, and that the time period between November 12, 2019, and January 15, 2020, inclusive, is

22 excluded from the calculation under the Speedy Trial Act pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(i)

23 and (iv) for the reasons stated in the parties’ stipulation.

24 IT IS SO ORDERED.

25
         Dated:    November 6, 2019
26                                                      UNITED STATES DISTRICT JUDGE

27

28

                                                          4
30
